                Case 2:22-cv-01009-TL Document 78 Filed 03/13/23 Page 1 of 4


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                                                             THE HONORABLE TANA LIN
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 8                          UNITED STATES DISTRICT COURT
 9                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
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11   SECURITIES AND EXCHANGE                     No. 2:22-cv-01009-TL
     COMMISSION,
12                                               COINBASE, INC.’S MOTION FOR
                         Plaintiff,              LEAVE TO FILE AN AMICUS BRIEF IN
13                                               SUPPORT OF DEFENDANTS ISHAN
           v.                                    WAHI AND NIKHIL WAHI’S MOTION
14                                               TO DISMISS
     ISHAN WAHI, NIKHIL WAHI, and
15   SAMEER RAMANI,                              NOTE ON MOTION CALENDAR:
                                                 March 31, 2023
16                       Defendants.

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     COINBASE, INC.’S MOTION FOR LEAVE TO FILE            Gibson, Dunn & Crutcher LLP
     AN AMICUS BRIEF                                       1050 Connecticut Ave. N.W.
     CASE NO. 2:22-cv-01009-TL                               Washington, D.C. 20036
                                                               Tel.: 202-955-8500
                Case 2:22-cv-01009-TL Document 78 Filed 03/13/23 Page 2 of 4


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            Coinbase, Inc. (“Coinbase”) respectfully moves for leave to file a brief as amicus curiae in
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     the above-captioned case in support of Defendants Ishan Wahi and Nikhil Wahi’s Motion to Dis-
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     miss (Dkt. No. 33). Counsel for the defendants have consented to this motion. Counsel for the
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     Securities and Exchange Commission (SEC) asked to review Coinbase’s proposed amicus brief
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     before taking a position on this motion; Coinbase declined to provide the draft brief before final-
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     izing and filing it, and the SEC’s position on this motion is accordingly unknown. A copy of the
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     proposed amicus brief is appended as an exhibit to this motion.
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            District courts possess inherent authority and “broad discretion” to permit the filing of an
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     amicus brief. Wagafe v. Biden, 2022 WL 457983, at *1 (W.D. Wash. Feb. 15, 2022) (citing Hop-
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     towit v. Ray, 682 F.2d 1237, 1260 (9th Cir. 1982)); accord Miss. Prods., Inc. v. Cincinnati Ins.
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     Co., 2021 WL 5305864, at *1 (D. Or. Nov. 15, 2021) (“[T]here is no rule addressing the filing of
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     an amicus brief in a district court[.]”). They often exercise that authority by “consider[ing] amicus
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     briefs from non-parties concerning legal issues that have potential ramifications beyond the parties
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     directly involved or if the amicus has unique information or perspective that can help the court
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     beyond the help that the lawyers for the parties are able to provide.” Skokomish Indian Tribe v.
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     Goldmark, 2013 WL 5720053, at *1 (W.D. Wash. Oct. 21, 2013) (citation and quotation marks
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     omitted); accord Miller-Wohl Co. v. Comm’r of Labor & Indus., State of Mont., 694 F.2d 203, 204
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     (9th Cir. 1982) (explaining that the “classic role” of an amicus curiae is to “assis[t] in a case of
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     general public interest, supplemen[t] the efforts of counsel, and dra[w] the court’s attention to law
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     that escaped consideration”). “[G]enerally courts ‘have exercised great liberality’ in permitting
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     amicus briefs.” El Paper LLC v. Inslee, 2020 WL 6219353, at *1 (W.D. Wash. Oct. 22, 2020)
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     (quoting California v. U.S. Dep’t of the Interior, 381 F. Supp. 3d 1153, 1163–64 (N.D. Cal. 2019)).
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            As explained in Coinbase’s proposed brief, the SEC is alleging that three individuals—
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     including Ishan Wahi, a former Coinbase employee—violated the securities laws by trading seven
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     digital assets that Coinbase listed on its platform and two others that Coinbase did not list. Alt-
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     hough aimed at three individuals, the SEC’s suit hinges on the wrong assumption that Coinbase—
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     COINBASE, INC.’S MOTION FOR LEAVE TO FILE                       Gibson, Dunn & Crutcher LLP
     AN AMICUS BRIEF - 1                                              1050 Connecticut Ave. N.W.
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                                                                          Tel.: 202-955-8500
                Case 2:22-cv-01009-TL Document 78 Filed 03/13/23 Page 3 of 4


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     the object of the defendants’ crimes and a nonparty in this case—has unlawfully listed at least a
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     small number of securities on its platform.
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            Coinbase is well positioned to contest the SEC’s view and explain its ramifications for the
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     crypto industry. It is the largest and only publicly traded cryptocurrency trading platform in the
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     United States and does not list any securities on its platform.
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            Coinbase therefore seeks this Court’s permission to file the attached amicus brief.
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     COINBASE, INC.’S MOTION FOR LEAVE TO FILE                         Gibson, Dunn & Crutcher LLP
     AN AMICUS BRIEF - 2                                                1050 Connecticut Ave. N.W.
     CASE NO. 2:22-cv-01009-TL                                           Washington, D.C. 20036
                                                                            Tel.: 202-955-8500
               Case 2:22-cv-01009-TL Document 78 Filed 03/13/23 Page 4 of 4


 1
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 2
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20
                                                       Attorneys for Amicus Curiae Coinbase, Inc.
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            CERTIFICATION: The above signatory also certifies that this memorandum contains
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     476 words, in compliance with the Local Civil Rules
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     COINBASE, INC.’S MOTION FOR LEAVE TO FILE                  Gibson, Dunn & Crutcher LLP
     AN AMICUS BRIEF - 3                                         1050 Connecticut Ave. N.W.
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